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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

RICKY DEAN’S INC.
d/b/a THE SANDBAR, et al.,

                         Plaintiffs,

v.                                                              Case No. 20-4063-DDC-ADM

THOMAS MARCELLINO, M.D., et al.,

                         Defendants.


          NOTICE CONCERNING POTENTIAL JUDICIAL DISQUALIFICATION

          Under 28 U.S.C. § 455(a) and Canons 3(C)(1) and 3(D) of the Code of Conduct for

United States Judges, when a judge is otherwise disqualified in a proceeding because the judge’s

“impartiality might reasonably be questioned,” the judge may participate in the proceeding if all

the parties and their counsel, after notice of the basis for the potential disqualification, agree that

disqualification is not required (or agree to waive disqualification) under a procedure

independent of the judge’s participation. Unless all parties and their counsel indicate (by

inaction) their intent to waive the potential disqualification, United States District Judge Daniel

D. Crabtree may be disqualified in this case because of the circumstances set out in the Order

Regarding Potential for Judicial Disqualification (Doc. 10) issued contemporaneously with this

notice.

          If the parties and their counsel wish to waive Judge Crabtree’s potential disqualification,

they need not respond to this notice or do anything else. That is, the Clerk of the Court simply

will conclude from the absence of a timely response that the unresponding party and counsel

intended to waive potential disqualification. Where no timely response is received by the

Clerk’s office, Judge Crabtree will continue to act as the District Judge assigned to this case.
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       Conversely, if any party or their counsel concludes that disqualification is warranted and

does not wish to waive the potential disqualification, it must submit a letter to that effect,

concisely stating the factual basis for disqualification. Any such letter must be received by the

Clerk of the Court on or before October 24, 2020. (Any party who first appears in this action

after this notice is entered must submit such a letter within five days of its appearance in the

case.) The letter should not be filed by CM/ECF or otherwise sent to Judge Crabtree, and no

copies of any letter should be provided to other counsel. Any such letter declining to waive

disqualification will be kept under seal by the Clerk and not shown to Judge Crabtree, nor will he

be informed of the identity of any party or attorney who declined to waive potential

disqualification. If any party or attorney submits a letter indicating a desire not to waive the

potential disqualification, the matter will be submitted to Chief Judge Julie A. Robinson. The

Chief Judge will determine whether the factual basis asserted in support of disqualification

warrants random reassignment of this case to another United States District Judge.

       This Notice Concerning Waiver of Potential Judicial Disqualification shall be served by

the Clerk on all parties who have entered an appearance in this case.

       Dated this 19th day of October, 2020, at Kansas City, Kansas.

                                                       s/ Timothy M. O’Brien
                                                       Timothy M. O’Brien
                                                       Clerk of the Court




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